Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 1 of 6
Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 2 of 6
Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 3 of 6
Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 4 of 6
Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 5 of 6
  Case 2:10-cr-00284-APG-PAL   Document 184   Filed 03/07/12   Page 6 of 6




PATRICIA BASCOM,




                                 March 12, 2012.


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                                                   UNITED STATES DISTRICT JUDGE
